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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

  PORTLAND GENERAL ELECTRIC
  COMPANY; AVISTA                                   CV 21-47-BLG-SPW-KLD
  CORPORATION; PACIFICORP; and
  PUGET SOUND ENERGY, INC.,
                                                    ORDER
                       Plaintiffs,

  vs.

  NORTHWESTERN CORPORATION;
  and TALEN MONTANA, LLC,

                       Defendants.


        On May 4, 2021, Plaintiff provided notice to the Attorney General for the

State of Montana that Plaintiffs have filed a complaint in which they challenge the

constitutionality of a Montana state statute. (Doc. 4.) In recognition of Plaintiffs’

notice and in accordance with the directive of 28 U.S.C. ' 2403 and Federal Rule

of Civil Procedure 5.1(b), the undersigned hereby certifies to the Honorable Austin

Knudsen, Attorney General for the State of Montana, that the constitutionality B

under Article I, Section 10, Clause 1 to the United States Constitution and Article

II, Section 31 to the Constitution of the State of Montana B of the following

Montana statute has been called into question by pleadings in the above-referenced

action:



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      S.B. 265, 67th Leg., Reg. Sess. § 1 (Mont. 2021) (codified as Montana Code
      Annotated ' 27-5-323(2)).

      The Clerk of Court is directed to serve a copy of this Certification by

certified mail upon the Honorable Austen Knudson at the following address:

      Department of Justice
      P.O. Box 201401
      Helena, MT 59620-1401

      DATED this 5th day of May, 2021.



                                       _______________________________
                                       Kathleen L. DeSoto
                                       United States Magistrate Judge




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